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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA                        NOTICE OF MOTION

v.
                                                Cri. No. 20-cr-77A
PAUL E. LUBIENECKI,

                        Defendant.
___________________________________



      PLEASE TAKE NOTICE:

MOTION MADE BY:                          Rodney O. Personius, Esq.
                                         PERSONIUS MELBER LLP
                                         Attorneys for Defendant
                                         PAUL E. LUBIENECKI

DATE, TIME & PLACE:                      Oral argument is not requested.

RELIEF SOUGHT:                           A 30-day extension of the deadline for filing
                                         objections, if any, to the Report
                                         Recommendation and Order [Doc. No. 20]
                                         and Decision and Order [Doc. No. 21] of
                                         Magistrate Judge H. Kenneth Schroeder, Jr.

GROUNDS FOR RELIEF SOUGHT:               WDNY Local Rule of Criminal Procedure
                                         59(c)(2).

SUPPORTING PAPERS:                       Annexed Declaration of Counsel.


Dated: Buffalo, New York
       November 2, 2020.


                                         /s/ Rodney O. Personius
                                         Rodney O. Personius, Esq.
                                         PERSONIUS MELBER LLP
                                         Attorneys for Defendant
                                           PAUL E. LUBIENECKI
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                                         2100 Main Place Tower
                                         Buffalo, NY 14202
                                         (716) 855-1050
                                         rop@personiusmelber.com

TO:   AUSA Aaron J. Mango
      U.S. Attorney’s Office
      138 Delaware Avenue
      Buffalo, NY 14202
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA                                      DECLARATION OF COUNSEL

v.
                                                              Cri. No. 20-CR-77A
PAUL E. LUBIENECKI,

                        Defendant.
___________________________________


        RODNEY O. PERSONIUS, ESQ. declares the truth of the following under the penalty of

perjury:

        1.     I am a member of Personius Melber LLP, retained attorneys for defendant Paul E.

Lubienecki.

        2.     This Declaration is submitted in support of an application to extend the deadline for

filing objections, if any, to the Report, Recommendation and Order [Doc. No. 20] and Decision and

Order [Doc. No. 21] of Magistrate H. Kenneth Schroeder, Jr., which were each filed on October 20,

2020.

        3.     The reason for the requested extension is to provide time for counsel to consult with

the defendant regarding the advisability of filing objections to one or both of these determinations.

        4.     This additional time is necessary as counsel is now involved in a stand-by capacity

in a trial before District Judge John L. Sinatra, which is scheduled to commence with jury selection

on November 4, 2020.

        5.     The name of the case is United States of America v. Nathaniel Gates, Jr., 17-cr-92

JLS.

        6.     I learned of this assignment last Wednesday, October 28, 2020.
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        7.     Since that time, it has been necessary to devote virtually all of my working hours to

assisting the defendant in preparing for trial, and in becoming familiar with the facts of the case.

        8.     It is estimated that the trial will last between 3 and 4 weeks.

        9.     Accordingly, I will not be in a position to give full and fair consideration to the

Lubienecki matter until after this trial is concluded.

        10.    Assistant United States Attorney Aaron Mango has been consulted, and has consented

to this adjournment request.

       WHEREFORE, application is hereby made pursuant to Local Rule of Criminal Procedure

59(c)(2) for a 30-day extension of the time for filing objections to the Report, Recommendation and

Order [Doc. No. 20] and Decision and Order [Doc. No. 21] of Magistrate Judge Schroeder.



Dated: Buffalo, New York
       November 2, 2020.

                                                         /s/ Rodney O. Personius
                                                         Rodney O. Personius, Esq.
                                                         PERSONIUS MELBER LLP
                                                         Attorneys for Defendant
                                                           PAUL E. LUBIENECKI
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